Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 1 of 6 PageID 3312




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

JACKSONVILLE BRANCH OF THE
NAACP; NORTHSIDE COALITION
OF JACKSONVILLE, INC.; ACLU OF
FLORIDA NORTHEAST CHAPTER;
FLORIDA RISING TOGETHER, INC.;
MARCELLA WASHINGTON;
INGRID MONTGOMERY; AYESHA
FRANKLIN; TIFFANIE ROBERTS;
ROSEMARY McCOY; SHELIA
SINGLETON; EUNICE BARNUM;
JANINE WILLIAMS; HARAKA
CARSWELL; and DENNIS BARNUM

      Plaintiffs,                            Case No.: 3:22-cv-493-MMH-LLL

V.


CITY OF JACKSONVILLE and
MIKE HOGAN, in his official capacity
as Duval County Supervisor of Elections,

    Defendants.
_ _ __ __ _ __ _ _ __!

                    DECLARATION OF ROBERT PHILLIPS

     I, ROBERT PHILLIPS, do hereby submit this Declaration pursuant to 28

U.S.C. Section 1746, and state as follows:

      1.    My name is Robert Phillips. I am over the age of eighteen (18)

years, and am of sound mind and fully competent, and have personal

knowledge to attest to the matters stated herein. I am the Chief Elections

Officer for the Duval County Supervisor of Elections.

                                        1
Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 2 of 6 PageID 3313




         2.      I have personal knowledge of the matters set forth herein.

            3.   I have been employed by the Duval County Supervisor of Elections

   Office for 31 years and have been in the role of Chief Elections Officer for 8

   years.

            4.   My responsibilities as Chief Elections Officer include legislative

   services, budget preparation, procurement, calendaring, other election-related

   duties, and implementing all reapportionment and redistricting plans in Duval

   County.

            5.   City elections, including for Mayor, Sheriff, Supervisor of

    Elections, Tax Collector, Property Appraiser, and all City Council seats, are

    held in accordance with § 350.102, Jacksonville Ord. Code. The City of

    Jacksonville First Election will be held March 21, 2023. If no candidate

    receives a majority of the votes, the General Election will be held May 16, 2023.

    There are no provisions in the ordinance to change these dates in the event of

    a change in the district lines.

            6.   Although candidate qualifying for the 2023 municipal elections is

    from January 9-13, 2023, any candidate who desires to qualify by petition

    rather than paying a fee must submit the petition no later than noon on

    December 12, 2022. Our office must certify those signatures no later than

    January 2, 2023. The qualifying date is based on Chapter 99 of the Florida

    Statutes, and cannot change unless there is a corresponding change to the

                                            2
Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 3 of 6 PageID 3314




election dates which, as stated above, would have to be changed by ordinance.

      7.    The Office of the Supervisor of Elections will be extremely

burdened if the City Council District boundaries are redrawn at this late date.

Our office has already relied on the lines drawn when Ordinance 2022-01-E

was enacted. When the new City Council Districts were changed, our office had

to mail new voter registration cards to approximately 615,000 registered

voters. This process took two weeks due to printer capacity. Of course, these

changes were also necessitated by the redrawn Congressional and state

legislative maps. If the maps are redrawn again for the City Council districts,

new registration cards will have to be mailed out to all voters affected by the

new district lines at an additional cost. The more the maps are changed, the

more voters affected, and the more cards we will have to send out. Costs will

correspond to the number of voters.

      8.    Reissuing voter registration cards is not a simple task. We take

many quality control measures to make sure that voters have the correct

information when they vote. We have to run tests in our redistricting database,

then put it into production. In addition, precincts must be redrawn (as

discussed in more detail below). Only at that point can we schedule cards to be

mailed. The process usually takes 3-4 weeks; attempting to do this in three

weeks or less would weaken our stringent measures for ensuring accuracy.

Changing the voter registration cards in such a short time frame would also

                                      3
Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 4 of 6 PageID 3315




   result in voter confusion: voters voting at one place in November may be told

   they have to go to a different location in March because of new lines being

   drawn. This is especially true for Council Districts 7 and 9, which have

   vacancies that are being filled in a special election as part of the August 2022

   primary and general elections.

          9.    Many of the processes are dependent on outside vendors with their

    own timelines. Even if we could shorten our internal processes, the vendors

    might not be able to (and for large-scale changes, they would likely need

    additional time).

          10.   Even if only minor changes are made to the maps, we will have to

    superimpose the new maps on the current maps and determine where the

    differences are - the voters in these areas will be impacted by the change, even

    if no candidates or races are affected.

          11.   If major changes are made to the maps, however, it is likely that

    candidates and council district races will be significantly impacted. The ballots

    will be printed on January 20, 2023; we must send them to the printer no later

    than January 20. Although we are not required to comply with UOCAVA for

    the City Elections, we do so anyway to give overseas voters a full and fair

    opportunity to vote in their hometown elections. Again, rushing the process

    could adversely affect the voting process. Polling places may also need to be

    changed.

                                              4
Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 5 of 6 PageID 3316



       12.   If the City Council Districts were redrawn but not in time for the

March 2023 First Election, it would be unduly burdensome to hold the March

election for offices not affected by redistricting (such as the Mayor, Sheriff, and

constitutional officers) and then a separate later election for the redrawn

Council Districts. Each election costs a minimum of $1.5 million, and two

elections would most likely have to be held, since many of the fourteen districts

would likely have more than two candidates in the race. In addition, voter

turnout would likely be lower in a second set of elections.

      13.    The plaintiffs have alleged in their complaint that the 2022

council districts have too many split precincts. Plaintiffs appear to have a

misunderstanding of how precincts are drawn in the City. Precincts do not

have permanent boundaries, but are subject to change after redistricting

following each census.

      14.    Precincts are redrawn after the congressional, state legislative,

and city council maps are submitted. We look at the census blocks, which

indicate where the population resides, and consider only the population

demographics, not race or political party. Census blocks remain whole within

precincts (except for community development districts, which may need to be

split depending on the statutory district boundaries). The primary

consideration for drawing precincts is following the newly revised council

lines, although we try to follow state legislative and congressional lines as

                                        5
Case 3:22-cv-00493-MMH-LLL Document 40-32 Filed 08/12/22 Page 6 of 6 PageID 3317




   much as possible.

         15.   Precincts are also subject to be redrawn without redistricting for

   a variety of reasons. For instance, depending on population growth in the

   years between redistricting, certain precincts may gain more population than

   can be easily handled at the designated polling place. Other precincts may be

   consolidated if the population decreases in those areas. In short, precincts are

   fluid boundary lines that can be - and are often - changed at the

    recommendation of the Supervisor of Elections and upon adoption of an

    ordinance by the City Council. Compare Jacksonville Ordinance 2022-0384-E

    (changing voting precincts following City, State Legislative, and

    Congressional redistricting) with Jacksonville Ordinance 2020-0025-E

    (creating new precinct and revising precinct boundaries).

         I DECLARE UNDER PENALTY OF PERJURY that the foregoing is true

    and correct.
                          Zl.
         Executed this / / day of August, 2022, in Duval County, Florida.



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